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4
5
     Attorney for Defendant
6    ELHAM ASSADI
7
                          UNITED STATES DISTRICT COURT
8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,          ) 2:08-cr-0093 FCD
                                        )
11              Plaintiff,              )
                                        ) STIPULATION AND ORDER RE
12                   v.                 ) DEFENDANT ELHAM ASSADI TRAVEL
                                        ) AUTHORIZATION
13   ELHAM ASSADI,                      )
                                        )
14              Defendant.              )
                                        )
15                                      )

16
          The United States, through Assistant U.S. Attorney Matthew
17
     Stegman, and defendant Ms. Elham Assadi, through her counsel H.
18
     Dean Steward, hereby stipulate as follows:
19
     1. Defendant Elham Assadi is currently under Pre-Trial
20
     supervision. That supervision is being handled on a courtesy
21
     basis out of the Central District of California, Riverside
22
     office.
23
     2. Ms. Assadi seeks permission to travel with family to Las
24
     Vegas, Nevada from Dec. 24 through and including Dec. 27, 2010.
25
     The purpose of the travel is a family reunion.
26
     3. Assistant U.S. Attorney Matthew Stegman on behalf of the
27
     government and H. Dean Steward, counsel for the defendant,
28
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1    jointly agree to the terms of this requested travel
2    authorization. Pre-Trial Services Officer Pamela Pozo from the
3    Riverside, California Pre-Trial Services office who supervises
4    Ms. Assadi, does not object to the travel or this stipulation,
5    provided Ms. Assadi provides complete travel plans to Pre-Trial
6    Services at least 24 hours before departure.1
7
8    So stipulated.
9
10   Dated: 12-11-10                /s/ H. Dean Steward
11                                         H. Dean Steward
12                                         Counsel for Defendant Assadi
13
14
15   Dated: 12-11-10                /s/ Matthew Stegman
16                                          Matthew Stegman
17                                          Asst. U.S. Attorney
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          1
25            Pre-Trial Services in the Central District of California’s
26   highest endorsement for any travel by any defendant is “no
27   opposition”.
28                                          2
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1                                         ORDER
2    Good cause appearing and the parties having stipulated:
3    IT IS HEREBY ORDERED that
4    1. Defendant Elham Assadi may travel to Las Vegas, Nevada for a
5    family reunion on December 24 through and including December 27,
6    2010.
7    2. She shall notify Pre-Trial Services and provide trip details
8    at least 24 hours before leaving.
9    So ordered.
10
11
12   DATED:     December 16, 2010
13
14
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16                                        _____________________________
                                          KENDALL J. NEWMAN
17                                        UNITED STATES MAGISTRATE JUDGE
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28                                          3
